4:08-cr-03078-WKU-DLP             Doc # 82    Filed: 10/21/08     Page 1 of 1 - Page ID # 226




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                    4:08CR3078
                                               )
              v.                               )
                                               )
PEEAIR SHAUN WARD,                             )       ORDER ON MOTION TO EXTEND
                                               )
                     Defendants.               )
                                               )


         IT IS ORDERED that the Motion to Extend, filing 81, is granted and the government
shall file and serve its documents on or before October 22, 2008.

       Dated October 21, 2008.

                                      BY THE COURT

                                      s/ Warren K. Urbom
                                      United States Senior District Judge
